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                  UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION


UNITED STATES OF AMERICA

VS.                                       CASE NO. 5:23-cr-30-JA-PRL

THONATHUN GARCIA-
GARCIA


           CASE MANAGEMENT ORDER ON SENTENCING

      IT IS HEREBY ORDERED that the sentencing hearing will be held on

December 21, 2023 at 1:00 PM before United States District Judge John

Antoon, II in Courtroom 3A, United States District Court, 207 NW 2nd Street,

Ocala Florida. The sentencing hearing is scheduled for thirty (30) minutes. If

any party anticipates that more than thirty (30) minutes will be needed for the

hearing, the party shall advise the Court by way of a Notice within three (3)

days after filing of the Initial Presentence Report.

      IT IS FURTHER ORDERED that motions to depart or vary from the

sentencing guidelines must be in writing. The motions to depart or vary from

the sentencing guidelines and sentencing memoranda, if any, must be filed not

less than seven (7) days prior to the sentencing date.          A sentencing

memorandum and a motion for variance shall be submitted in a single

document not to exceed 25 pages in length. Objections to the presentence

report are not to be included in the sentencing memoranda; objections must be
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submitted to the probation officer and to opposing counsel as a separate

document.

       IT IS FURTHER ORDERED that the parties shall inform the Court

in writing, not less than seven (7) days prior to the sentencing date, whether

testimony is to be presented at the hearing. Any party intending to present

testimony shall, also not less than seven (7) days prior to the sentencing date,

file a Notice containing the names of the witnesses and the estimated length

of such testimony. Except for good cause shown, the Court will not allow any

testimony that is not disclosed in accordance with this Order.

       TIMING AND CONTENT OF MEMORANDUM OF LAW, THE
     EXCHANGE OF EXPERT DISCOVERY, AND NOTICES REQUIRED
                          PRIOR TO SENTENCING:


I.     Objections to the Sentencing Guidelines

       When counsel for the Defendant objects to the application of a provision

of    the   United   States   Sentencing   Guidelines,   the   Defendant   may

contemporaneously      file   a   memorandum     identifying   the   controlling

jurisprudence upon which they rely and shall state with particularity the facts

upon which they rely. Where counsel for the Government opposes the

Defendant’s objection, no later than 10 days prior to the sentencing date

counsel for the Government shall file a memorandum identifying the

controlling jurisprudence upon which they rely and shall state with

particularity the facts upon which they rely in opposing the objection.


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       No later than 5 days prior to the sentencing date, counsel for the

Defendant may submit a response in opposition to the sentencing

memorandum submitted by government counsel.

II.    Expert Reports

       Where counsel for either the Government or the Defendant offers reports

prepared by retained experts for use in sentencing proceeding, the raw data

used by the expert in arriving at his or her opinion shall be made available for

inspection and copying by opposing counsel, or his or her designee, no later

than 14 days prior to the date set for sentencing. The party requesting access

to the raw data shall be responsible for the costs associated with the production

of the material. Nothing in this order precludes the producing party from filing

a motion for protective order, setting forth the basis of the motion for protective

order including citations to controlling authority.

III.   Multi-Defendant Prosecutions

       When multiple individuals have been charged with participating in a

course of conduct comprising a single criminal undertaking 1, such as a

conspiracy, and where counsel for either the Government or the Defendant will

argue at sentencing that the Defendant being sentenced occupies a role in the

criminal undertaking that is similar to a previously sentenced member of the




1 This requirement applies whether the Defendants were charged in a single case or

were charged in separated cases where the course of conduct constitutes one
continuing course of conduct as that term is defined in the United States Sentencing
Guidelines.
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criminal undertaking (that is, sentencing parity), counsel shall identify the

previously sentenced Defendant(s) and shall identify the sentence imposed by

the sentencing Court. The notice shall be filed no later than 7 days prior to the

sentencing date.

      If multiple defendants will be sentenced on the same day, 7 days prior to

the sentencing hearing counsel for the Government shall, and counsel for the

Defendant may, identify the members of the criminal undertaking who are

similarly situated. This Order is intended to ensure the Court has the facts

necessary to avoid unwarranted sentencing disparity.

IV.   Substantial Assistance

      A motion to recognize a defendant’s substantial assistance, pursuant to

U.S.S.G. §5K1.1, shall be filed by the Government no later than 10 days prior

to sentencing. The motion shall (1) articulate the nature and scope of the

cooperation provided by the Defendant ― with sufficient detail to allow the

Court to assess the value of the cooperation to the Government, (2) indicate

whether the cooperation resulted in criminal charges having been brought

against any individual or entity, (3) state whether the cooperation caused or

contributed to defendant entering a plea of guilty, and (4) identify the extent

to which the cooperating defendant was placed at risk due to his or her

cooperation. When necessary to protect the identity of the cooperating

Defendant, the Government may file a sealed motion seeking leave to file the

substantial assistance motion under seal, setting forth the basis for request.


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V.    Aggravating Evidence—Relevant Conduct

      When the United States intends to rely upon evidence, including

relevant conduct, which is not clearly specified in the Final Presentence

Investigation Report, the Plea Agreement, or an affidavit in support of a

criminal complaint, government counsel shall file a memorandum setting forth

such evidence with particularity. If appropriate, counsel for the government

may seek leave to file the exhibit under seal. The Government shall file the

memorandum and the exhibit(s) no later than seven (7) days prior to the

sentencing and shall serve opposing counsel with a copy. Failure to comply

with this provision shall result in the United States having waived the right to

present arguments based upon such evidence during the hearing, absent leave

of Court obtained prior to the sentencing hearing upon a showing of good

cause for the noncompliance with this Order.

      DONE AND ORDERED in Orlando, Florida on September 19, 2023.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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